Case: 2:20-cv-05234-SDM-MRM Doc #: 26 Filed: 12/29/20 Page: 1 of 1 PAGEID #: 403




                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF OHIO
                     EASTERN DIVISION AT COLUMBUS

MATTHEW TASSONE,

                        Petitioner,                  :   Case No. 2:20-cv-5234

        - vs -                                           District Judge Sarah D. Morrison
                                                         Magistrate Judge Michael R. Merz

THE HONORABLE ELIZABETH GILL,
 Judge, Franklin County Court of Common
 Pleas, Domestic Relations Division

                                                     :
                        Respondent.


                                  DECISION AND ORDER


        This habeas corpus case is before the Court on Motion of Ohio Attorney General Dave

Yost to dismiss him as a party respondent (ECF No. 9). Petitioner has filed a lengthy response,

but concedes that the Attorney General is not a proper party Respondent in this case: “Petitioner

does not oppose Mr. Yost's assertion that he is not a proper party to this case;” (ECF No. 24, PageID 383).

        Accordingly, pursuant to Fed.R.Civ.P. 21, the Attorney General is dismissed as a party.



December 29, 2020.

                                                                s/ Michael R. Merz
                                                               United States Magistrate Judge




                                                    1
